Case 5:23-cv-11074-JEL-EAS ECF No. 17-15, PageID.1046 Filed 07/22/23 Page 1 of 2




                                Communications Policy
                                         of the
                          Libertarian Party of Michigan (LPM)

 A. Communications Director:
 The Executive Committee (LEC) shall by majority vote appoint a Communications
 Director, who shall report to the LEC and carry out such duties as directed by the LEC,
 and in accordance with the description herein.
    1. Job Summary
        a. Responsible for planning, development, and implementation of the LPM’s
           outreach strategies, marketing communications, and public relations
           activities.
        b. Oversee development and implementation of support materials and services
           for marketing, outreach, and messaging.
        c. Direct the marketing efforts of staff and contractors and coordinate efforts
           with other related staff and volunteers.
    2. Primary Relationships
        a. The Director reports to the LEC and the LPM Chair in the interim period
           between meetings.
        b. Within the Organization, the Director has primary working relationships with
           the Chair, Webmaster, Advertising & Publication Review Committee Chair,
           Local Affiliates, endorsed or nominated candidates, and subcommittee
           chairs.
        c. The Director further oversees the social media team, coordinates with the
           Newsletter Director, and works with LEC-approved service providers.
    3. Principal Accountabilities: Marketing, Messaging, and Public Relations
        a. Creating, implementing, and measuring the success of:
            i. A cohesive and consistent marketing, outreach, and public relations
               program that will enhance the Party’s image and position within the
               marketplace and the general public
            ii. Facilitate communications to external and internal audiences
           iii. All Party marketing, communications and public relations activities and
                materials including publications, media relations, etc
           iv. Supervise volunteers, employees, and contractors, including goal setting
               and professional development
        b. Editorial direction, design, production, and distribution of Party publications.
           This includes coordination of the appearance of all Party print and electronic
           materials such as letterhead, brochures, use of logo(s), etc.
        c. Coordination of media interest in the Party and ensuring regular contact with
           target media, and appropriate responses to media requests. Act as a Party



                                       EXHIBIT 54
Case 5:23-cv-11074-JEL-EAS ECF No. 17-15, PageID.1047 Filed 07/22/23 Page 2 of 2




            representative with the media, including producers and reporters, including
            by managing incoming press inquiries and arranging appearances and
            interviews. Create and disseminate press releases, the LPM Newsletter,
            weekly member emails, and coverage for LPM events and activities.
        d. Monitor media for LPM mentions and report on trends and metrics. Ensure
           that the Party regularly conducts relevant market research. Keep informed of
           developments in the fields of marketing, outreach, and public relations, not-
           for-profit management and governance, and the specific business of LPM
           and use this information to help the Organization operate with initiative and
           innovation.
        e. Coordinate social media team activities and ensure cohesion with overall
           organizational messaging strategy.
        f. Professionally format and publish content from designated subcommittees at
           the request of the subcommittee chair.
        g. Develop, coordinate, and oversee programs, technical assistance, and
           resource materials to assist elected officials and affiliates in the marketing,
           communications and positioning of their activities.
        h. Lead projects as assigned, such as project marketing and special events.
        i. Ensure that evaluation systems are in place related to these goals and
           objectives and report progress to the LEC and LPM Chair.

 B. Messaging Guidelines:
 The following guidelines shall be followed for all communication by or on behalf of the
 Party.
    1. All communication from official party channels should be conveyed as messages
       from LPM as a whole.
    2. Messaging must comply with the Bylaws and Platform of LPM.
    3. Most messaging should be relevant to individuals working and living in the State
       of Michigan.
    4. Messaging should be professional and avoid profanity or crass language. This
       should not be construed to prohibit strong wording nor harsh condemnation if
       otherwise appropriate per these guidelines.
    5. LPM may not promote or share content from candidates for public office that
       have not been endorsed or nominated by LPM or an affiliate thereof.
